                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1-09-cr-123
 v.                                                    )
                                                       )       COLLIER / LEE
 MICHAEL PAGE                                          )


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on December 16,

 2009. At the hearing, defendant moved to withdraw his not guilty plea to Count One and entered

 a plea of guilty to the lesser included offense of the charge in Count One, that is of conspiracy to

 manufacture, distribute, and possess with the intent to distribute fifty (50) grams or more of a

 mixture and substance containing a detectable amount of methamphetamine in violation of 21 U.S.C.

 §§ 846, 841(a)(1) and 841(b)(1)(B) in exchange for the undertakings made by the government in the

 written plea agreement. On the basis of the record made at the hearing, I find the defendant is fully

 capable and competent to enter an informed plea; the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; the plea is made voluntarily and free from

 any force, threats, or promises, apart from the promises in the plea agreement; the defendant

 understands the nature of the charge and penalties provided by law; and the plea has a sufficient

 basis in fact.

         Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One be granted, his plea of guilty to the lesser included offense of the charge in Count One, that is




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 of conspiracy to manufacture, distribute, and possess with the intent to distribute fifty (50) grams

 or more of a mixture and substance containing a detectable amount of methamphetamine in violation

 of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B) be accepted, the Court adjudicate defendant guilty

 of the lesser included offense of the charge in Count One, that is of conspiracy to manufacture,

 distribute, and possess with the intent to distribute fifty (50) grams or more of a mixture and

 substance containing a detectable amount of methamphetamine in violation of 21 U.S.C. §§ 846,

 841(a)(1) and 841(b)(1)(B), and a decision on whether to accept the plea agreement be deferred until

 sentencing. I further RECOMMEND defendant remain in custody until sentencing in this matter.

 Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

 sentence are specifically reserved for the district judge.



                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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